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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                         NOTICE OF TRIAL SCHEDULE CHANGE

       Comes now Defendant Jeffrey McKellop, by counsel, and notifies the Court that the trials

of defendants represented by undersigned counsel previously scheduled for August 29 and

October 3, 2022, respectively, have been removed from their respective dockets consequent to

resolution by agreement.

                                                     Respectfully submitted,

                                                     JEFFREY McKELLOP
                                                     By Counsel

                                                     _____/s/____________
                                                     John C. Kiyonaga

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                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on August 31, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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